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Nlarch 15, 2018
V|A ECF ONL\rl
Chambers of the Honorable Alan S. Trust
United States Bankruptcy Court
Long island Federal Courthouse
290 Federal Piaza
Central islip, New York 11722

Re: in re Monico B. Hanl'ey & Keven T. Hanley - Case No. 8-17-72008-ast
Dear ludge Trust,

This firm is proposed counsel to Andrew |V|. Thaler, chapter 7 trustee (”the Trustee”) of
the bankruptcy estate (the ”F_state”) of N|onica B. Hanley 81 Keven T. Hanley (the ”Debtors”).

Pursuant to your Honor's request and my letter dated l\/iarch l, 2018, this letter is an
update regarding the Debtors' compliance and appearance at a 341 meeting of creditors. On
Nlarch 8, 2017, the Debtors appeared before, and were examined by, the Trustee. Based on this
examination and a review of the produced documents, the Trustee found only one potential
asset: a minor preference/fraudulent conveyance. However, this avoidance action is of
inconsequential value to the Estate because the administrative expenses in pursuing such
action would exceed the potential recovery, especially when considering the administrative
expense of the prior trustee encompassed in his filed proof of claim. Accordingly, on Nlarch 12,
2018, the Trustee filed a report of no distribution.

For the above reasons, the Trustee respectfully requests that the mark off the hearing
scheduied for |V|arch 20, 2018. Thank you for your attention to this matter.

Sincgtely,

    

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cc: lohn Piccinnini, Esq. and Jonathan Roman, Esq. via email tojohn@wrplawgroup.com and
jonathan@wrplawgroup.com, respectively

